                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

ANTHONY M. ELLIS,                                       )
                                                        )
                Plaintiff,                              )       No. 3:12-cv-00401
                                                        )       Judge Campbell
v.                                                      )
                                                        )
SOUTHERN HEALTH PARTNERS, et al.,                       )
                                                        )
                Defendants.                             )

                                              ORDER

        The plaintiff, an inmate at the Robertson County Detention Center in Springfield, Tennessee,

brings this pro se action under 42 U.S.C. § 1983. (Docket No. 1). The plaintiff submitted an

application to proceed in forma pauperis. (Docket No. 2).

        Because the plaintiff is a “three-striker” under the Prison Litigation Reform Act, the court

denied the plaintiff’s application and ordered the plaintiff to submit the full civil filing fee of three

hundred and fifty dollars ($350.00) within thirty (30) days of the court’s order of May 7, 2012.

(Docket No. 3). The court advised the plaintiff that he could request an extension of time within

which to submit the full civil filing fee if such a request was made within thirty (30) days of the

court’s prior order. (Id.)

        The court’s records indicate that the plaintiff received the court’s order of May 7, 2012 on

May 8, 2012 (Docket No. 5). To date, however, the plaintiff has not submitted the civil filing fee.

Neither has the plaintiff requested an extension of time within which to do so.

        Accordingly, this action is DISMISSED for failure to comply with the orders of the court,

and for want of prosecution. Rule 41(b), Fed. R. Civ. P.; see Link v. Wabash R.R., 370 U.S. 626,

630 (1962); Knoll v. Am. Tel. & Tel. Co., 176 F.3d 359, 363 (6th Cir. 1999).




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       Because an appeal would NOT be taken in good faith, the plaintiff is NOT certified to

appeal the judgment of the court in forma pauperis. 28 U.S.C. § 1915(a)(3).

       Entry of this order shall constitute the judgment in this action.

       It is so ORDERED.



                                                     __________________________
                                                     Todd J. Campbell
                                                     United States District Judge




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